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1                                  UNITED STATES DISTRICT COURT
2                                 NORTHERN DISTRICT OF CALIFORNIA
3                                       SAN JOSE DIVISION    *E-FILED - 11/16/05*

4    UNITED STATES OF AMERICA,                     )       No. CR 05-00641 RMW
                                                   )
5                    Plaintiff,                    )       ORDER CONTINUING CASE AND
                                                   )       EXCLUDING TIME UNDER THE
6        v.                                        )       SPEEDY TRIAL ACT, 18 U.S.C. § 3161
                                                   )
7    YE TENG WEN,                                  )
        a/k/a Michael Wen,                         )
8    HAO HE,                                       )
        a/k/a Kevin He,                            )
9                                                  )
                     Defendants.                   )
10                                                 )
11            This matter came before the Court for a status hearing on Monday, November 7, 2005.
12   Counsel for the government and the defendant were present. Based on the hearing and at the
13   request of the defendant, the Court finds pursuant to Title 18, United States Code, Section
14   3161(h)(8)(A), considering the factors set forth in Section 3161(h)(8)(B), that the interests of
15   justice in granting this continuance outweigh the defendant’s and the public’s interests in a
16   speedy trial inasmuch as the defendant needs additional time for investigation and effective
17   preparation, including reviewing voluminous discovery provided by or otherwise made available
18   by the United States .
19            IT IS HEREBY ORDERED that this case is continued to January 17, 2006 at 9:00 a.m.
20   for a status hearing.
21            IT IS FURTHER ORDERED that the period of time from November 7, 2005 through
22   and including January 17, 2006 shall be excluded from the period of time within which trial must
23   commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
24
25   DATED: 11/16/05
26
27                                                  /S/ RONALD M. WHYTE
                                                   ________________________________
                                                   RONALD M. WHYTE
28                                                 United States District Judge
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